AFFIDAVIT OF SERVICE

State of New York County of Eastern United States District Court

Index Number: 1:22-CV-1032 (PKC) (JRC)
Date Filed:

Plaintiff:
IME Watchdog, Inc.

vs.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on Land Air Sea Systems, Inc., Attn: Robert M. Wagner,
2040 Dillard Court, Woodstock, IL 60098.

l, Roger Burton, being duly sworn, depose and Say that on the 14th day of March, 2023 at 2:45 pm, I:

served a CORPORATION by delivering a copy of the Subpoena to Appear and Testify at a Hearing or
Trial in a Civil Action and a witness fee check in the amount of $40.00, to: Teresa Wagner as Office
Manager for Land Air Sea Systems, Inc., at the address of: Attn: Robert M. Wagner, 2040 Dillard
Court, Woodstock, IL 60098, and informed said person of the contents therein.

Description of Person Served: Age: 70, Sex: F, Race/Skin Color: White, Height: 5'6, Weight: 150, Hair:
Blonde, Glasses: Y

| certify that | have no interest in the above action, am of legal age and have proper authority in the

jurisdiction in which this service was made.

Roger Burtdén
Subscribed and Sworn to before me on the 4 4th day 117.001609
of March, 2023 by the affiant who is personally

known j6/me. Nicoletti & Harris

4, L) 101 Avenue Of Americas
9th Floor

NOTARY PUBLIC” New York, NY 10013

OFFICIAL SEAL
YELENA OGULNIK
NOTARY PUBLIC, STATE OF ILLINOIS
MY COMMISSION EXPIRES: 12/27/2026

Our Job Serial Number: NHI-2023003997

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